






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                        





NO. 3-93-387-CV





LEE CAIN,



	APPELLANT


vs.





STATE OF TEXAS,



	APPELLEE



                        




FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT



NO. 91-5105, HONORABLE PAUL R. DAVIS, JR., JUDGE PRESIDING



                        





	Following a bench trial, the State recovered a money judgment against Lee Cain,
Larry McKay, and Timber Creek Oil Company, a corporation.  Cain appeals.  We will affirm the
judgment.



THE CONTROVERSY


	Timber Creek was the operator of certain oil wells that it failed to plug after the
Texas Railroad Commission ordered it to do so.  See Tex. Nat. Res. Code Ann. §§&nbsp;89.001-.046
(West 1993).  Cain was an officer and director of Timber Creek at all material times.  

	On December 19, 1988, the Commission authorized the expenditure of State funds
to pay the expense of plugging the wells.  Timber Creek failed to file its franchise-tax report due
March 15, 1989.  As a result, its charter was forfeited by the State on June 23, 1989, and never
revived.  Between July 1989 and December 1989, the Commission paid a total of $49,627.39 to
plug the wells.  The State sued Timber Creek to recover that sum and related sums in the statutory
cause of action authorized in section 89.083 of the Natural Resources Code. 

	In its suit against Timber Creek, the State joined Cain as a defendant on a theory
that he was personally liable for the corporate debt of $49,627.39 by reason of section 171.255(a)
of the Tax Code.  The statute provides as follows:



If the corporate privileges of a corporation are forfeited for the failure to file a
report or pay a tax or penalty, each director or officer of the corporation is liable
for each debt of the corporation that is created or incurred . . . after the date on
which the report, tax or penalty is due and before the corporate privileges are
revived.



Tex. Tax Code Ann. §&nbsp;171.255(a) (West 1992) (emphasis added).  The issue before us is whether
the Timber Creek "debt" to the State was "created" before or after March 15, 1989, the date the
corporation's franchise-tax report was due. (1)  In two points of error, Cain contends the trial court
erred because the debt was created before March 15, 1989; and thus, he is not personally liable
for the corporate debt under the literal terms of section 171.255(a).

	Cain makes two arguments:  (1) section 171.255(a) must be "strictly construed"
because it is "penal is nature"; and (2) a "debt" is "created" within the meaning of section
171.255(a) when the "event" that "authorized" the "debt" occurs, in this case the Commission
order in December 1988 that authorized the expenditure of state funds to plug the wells.  Cain
cites for these contentions the judicial decisions discussed below.



DISCUSSION AND HOLDINGS


	A predecessor statute also made officers and directors personally liable for "debts"
that were "created" after forfeiture of corporate privileges.  The court construed and applied the
statutory language in Schwab v. Schlumberger Well Surveying Corporation, 198 S.W.2d 79 (Tex.
1946).  There, the corporation accumulated a corporate obligation on open account--a liquidated
sum and therefore an obvious "debt" in legal usage.  Unable to pay the debt, the corporation
executed and delivered to its creditor the corporation's promissory note.  Unable to pay the note,
the corporation gave a series of six consecutive renewal notes, the last of which was executed and
delivered to the creditor after forfeiture.  The creditor sued on the last renewal note, contending
the officer and directors were personally liable under the statute because the note was given after
forfeiture.

	The court held against personal liability, reasoning as follows:  The statute was
"penal in nature" and "must be strictly construed and [not] extended beyond the clear import of
[its] literal language."  Schwab, 198 S.W.2d at 81 (emphasis added).  The word "created" literally
means "to bring into existence."  Here, the debt came into existence as a liquidated sum on open
account at a time well before forfeiture; the creditor failed to prove that any promissory note was
a novation that extinguished the open-account debt.  Moreover, the last renewal note was not a
"debt" at all because under the law of bills and notes "the renewal merely operates as an extension
of time to pay the original indebtedness.  The debt . . . remains the same; it is in substance and
in fact the same indebtedness evidenced by a new promise."  Id. at 82 (emphasis added).  The
statute imposed personal liability "only for debts contracted after the forfeiture of the right to do
business, and has no application to the renewal of obligations arising prior thereto."  Id. at 81
(emphasis added).

	In Curry Auto Leasing, Inc. v. Byrd, 683 S.W.2d 109 (Tex. App.--Dallas 1984, no
writ) the court applied section 171.255(a).  The corporation in Curry breached its lease contract
before forfeiture.  Under the terms of the contract, however, any resulting sums owing the non-breaching party were not calculable until after sale of the leased property and the sale did not
occur until after forfeiture of corporate privileges.  Citing the "strict construction" rule of Schwab,
the Curry court conceded the word "create" meant "to bring into existence something which did
not exist."  Faced with the fact that no liquidated obligation had come into existence before
forfeiture, Curry nevertheless held against personal liability on the following basis:



When parties enter into a contract the law presumes they intend the consequences
of its performance.  It follows that performance or implementation of the
contractual provisions relate back to and are authorized at the time of execution of
the contract.



Curry, 683 S.W.2d at 112 (emphasis added) (citation omitted).

	Other decisions have followed Curry in its application of the rule of "strict
construction" and the relation-back doctrine.  In these decisions also, the corporation breached
its contract before forfeiture but damages were not calculable or liquidated until after forfeiture
of corporate privileges.  See McKinney v. Anderson, 734 S.W.2d 173 (Tex. App.--Houston [1st
Dist.] 1987, no writ); River Oaks Shopping Ctr. v. Pagan, 712 S.W.2d 190 (Tex. App.--Houston
[14th Dist.] 1986, writ ref'd n.r.e.); Rogers v. Adler, 696 S.W.2d 674 (Tex. App.--Dallas 1985,
writ ref'd n.r.e.). (2)

	A common feature of Curry and the subsequent decisions is they (1) assume the
word "debt" carries a narrow, restricted meaning of a liquidated money obligation that is legally
enforceable but (2) apply the relation-back doctrine to hold against personal liability of officers
and directors notwithstanding that assumption.  Unless the courts acted under that assumption, the
relation-back doctrine is meaningless.

	All the relevant decisions after Schwab turn on the rule of statutory construction
known as the "strict construction" rule coupled with the relation-back doctrine.  We believe the
rule and the doctrine require more careful consideration than they have received heretofore in this
context.  They are sophisticated judicial instruments; they have a legal history and a specific
meaning.  They are not simply the sounds a court makes when it delivers a knockout blow to the
party contending for personal liability under section 171.255(a).



The Relation-Back Doctrine


	The relation-back doctrine holds that an act done at one time is considered to have
been done at an earlier time for the purposes of the case before the court.  Like all such fictions,
it enables the court to arrive at conclusions that will effectuate justice while maintaining
simultaneously the appearance of logical consistency.  The doctrine originated in equity but courts
now apply it in any number of circumstances when is it necessary to effectuate justice. (3)  It has
nothing to do, of course, with the common law rule of Schwab that a promissory note is not a debt
but merely evidence of a debt.

	Broadly speaking, the relation-back doctrine may be applied to give effect to the
parties' lawful intentions, preserve rights that would otherwise be lost, or afford a remedy when
none would otherwise exist.  See Brandon v. Claxton, 30 S.W.2d 679, 680-81 (Tex. Civ.
App.--Dallas 1930), aff'd, 47 S.W.2d 264 (Tex. 1932).  The Curry court applied the doctrine for
the first such purpose:



When parties enter into a contract the law presumes they intend the consequences
of its performance.  It follows that performance or implementation of the
contractual provisions relate back to and are authorized at the time of execution of
the contract.



Curry, 683 S.W.2d at 112 (emphasis added) (citation omitted).  Rogers, Pagan, and McKinney
followed and relied upon the doctrine in a slightly different way.  Presumably these decisions rest
on the idea that one who contracts expressly with a corporation in good standing necessarily
intends to look to that limited-liability entity for performance, and in justice he should be confined
to the consequences of that intention. (4)

	Merely to refer to the purposes of the relation-back doctrine demonstrates that it
is not justified in Cain's case.  The doctrine is not necessary to effectuate Cain's lawful intentions;
neither is the doctrine necessary to protect from loss some right that Cain has acquired nor to
furnish him a remedy because he would not otherwise have one for a wrong he has suffered. 
Contrary to his argument, the decisions cited above have not engrafted upon section 171.255(a)
an appendage holding that officers and directors are never personally liable whenever it may
appear that a post-forfeiture debt has some connection to a pre-forfeiture event, cause, or
circumstance.



The Rule of Strict Construction


	Schwab adhered to the narrow or strict meaning of the word "create" and operated,
moreover, on the assumption that the word "debt" also was similarly restricted to its technical
meaning of a liquidated obligation that was legally enforceable against the corporation.  The
subsequent decisions mentioned previously also operated on that assumed meaning in applying the
relation-back doctrine.  It is therefore difficult to comprehend Cain's invocation of the strict-construction rule of statutory construction because, under that rule, Timber Creek's "debt" first
came into existence after forfeiture and he is therefore personally liable for the debt under section
171.255(a).  Cain actually contends for a liberally expanded interpretation of the words "draft"
and "create" so that they encompass legal obligations of all kinds, rather than liquidated money
obligations only.  We will nevertheless discuss further the rule of strict construction, assuming
Cain has properly invoked the rule.

	The language and legal effect of a statute may require its "strict" construction,
meaning a limited, narrow, or inflexible reading and application of it.  This is true generally of
two classes of statutes, those that authorize a penalty and those that infringe upon private property
or liberty interests.  Application of the rule does not, however, follow automatically once the
court is able to ascertain that the operative effect of the statute places it within one of the two
classes.

	The rule rests upon two basic propositions.  The first is that of fair notice.  When
statutory language is susceptible of either an expansive or a restricted meaning, and it imposes a
penalty, it may be necessary to adhere to the latter meaning so



that the party upon whom it is to operate may with reasonable certainty ascertain
what the statute requires to be done, and when it must be done; otherwise there
would be no opportunity for a person charged with the statutory duty to protect
himself by the performance of it according to law.



Missouri, K. &amp; T. Ry. v. State, 100 S.W. 766, 767 (Tex. 1907); see also State v. International
&amp; G. N. Ry., 179 S.W. 867 (Tex. 1915); Houston E. &amp; W. Ry. v. Campbell, 45 S.W. 2 (Tex.
1898).   Cain does not suggest that he has been subjected to liability because the terms of section
171.255(a), or some other statute, are written in language that is insufficiently specific in light of
the penalty it imposes.

	In this connection, we might observe that the necessity for a literal, narrow, and
inflexible interpretation diminishes considerably when the penal statute supplies procedures for
preventing or circumscribing the chances of arbitrary action being taken by government in the
name of the statute, whatever it lacks in specificity.  Carbide Int'l Ltd. v. State, 695 S.W.2d 653,
659 (Tex. App.--Austin 1985, no writ); see 3 Sands, Sutherland Statutory Construction §&nbsp;59.07,
at 22 (1974) ("[P]rocedural safeguards may now be conceived to be more suitable than the
safeguard of strict construction to protect the interests of individuals in not being subjected to
undeserved punishment.").  The Tax Code provides such procedural safeguards in sections
171.312 and 171.313, which authorize administrative revival of the corporate shield and privileges
on filing of the delinquent report and paying the sums owing the State.  Similarly, the Natural
Resources Code provides for hearings and judicial review of the Commission's actions in cases
like the present.  See Tex. Nat. Res. Code Ann. §§&nbsp;81.0531-0532, 85.381 (West 1993).

	The second proposition underlying the rule of strict construction is that of
proportion:



[T]he more severe the penalty, and the more disastrous the consequences to the
person subject to the provisions of the statute, the more rigid will be the
construction of its provisions in favor of such a person and against the enforcement
of such law.



Missouri, K &amp; T. Ry., 100 S.W. at 767.  We may assume the potential penalties under section
171.255(a) are severe.

	So far as we are able to find, the word "debt" as used in that statute has never been
thought to include an obligation that is unliquidated.  Indeed, it is difficult to see how such a
meaning could be assigned the word if it is required to be construed strictly, that is to say,
narrowly, literally, and technically.



CONCLUSION


	Under the strict meaning of the word "debt," no corporate debt came into existence
in Cain's case until after forfeiture.  Before forfeiture, Timber Creek's obligation existed only in
unliquidated form; the obligation did not become liquidated until after forfeiture.  Shall we hold
that the liquidated obligation relates back to a time before forfeiture, to the date the Commission
authorized the expenditure of State funds, for example?  No justification is claimed for our doing
so and it is difficult to imagine what that justification might be.

	"The statute was meant to prevent wrongful acts of culpable officers of a
corporation, and was for the protection of the public and particularly those dealing with the
corporation."  Schwab, 198 S.W.2d at 81.  The circumstances of the present case fit squarely
within this statutory objective.  The corporation was under a statutory duty to plug the wells and
the Commission ordered it to do so.  Cain was a corporate official responsible for seeing that the
corporation performed its duty.  He has not argued that he was not culpable in that regard.  He
has instead argued that the statute, properly construed, simply does not apply in these
circumstances.  We disagree and therefore overrule Cain's two points of error and affirm the trial-court judgment.



					                                                               

					John Powers, Justice

Before Justices Powers, Jones and Kidd

Affirmed

Filed:   August 17, 1994

Publish 
1.      &nbsp;&nbsp;In legal usage, the word "debt" refers ordinarily to a liquidated money obligation that
is legally enforceable by the owner; that is to say, the legally enforceable obligation must be for
a sum certain in money.  See Seay v. Hall, 677 S.W.2d 19, 23 (Tex. 1984); 26 C.J.S. Debt 6
(1956).  This is presumptively the meaning intended by the legislature in its use of the word
"debt" in § 171.255(a) of the Tax Code, a section within Chapter 171 covering the franchise tax.


The idea that "debt" referred to a liquidated sum was augmented considerably in 1987 when the
legislature amended Chapter 171 to add the following definition:


§&nbsp;171.109.  Surplus


(a)	In this chapter:


* * * * *



	(3)	"Debt" means any legally enforceable obligation measured in a certain
amount of money which must be performed or paid within an ascertainable
period of time or on demand.


(emphasis added).  While section 171.109 is headed "Surplus," this does not mean that the
definition of "debt" is limited to the calculation of corporate surplus according to the formula set
out subsequently in the section.  Subsection (a) declares expressly and literally that the definition
applies throughout "this chapter," not "this section."  If one is tempted to construe differently the
scope of the definition's applicability, then one must give weighty reasons for doing so in the face
of the literal language and the presumption that the legislature intends the same words to have the
same meaning throughout the statutory scheme.  See Fox v. Burgess, 302 S.W.2d 405, 407 (Tex.
1957); Hufstedler v. Harral, 54 S.W.2d 353, 355 (Tex. Civ. App.--Amarillo 1932, writ ref'd). 
No such reasons suggest themselves.
2.      &nbsp;&nbsp;Curry, Adler, Pagan, and McKinney appear to have been decided before the effective date
of the 1987 amendment discussed in footnote one to this opinion.
3.      &nbsp;&nbsp;A few examples will suffice.  See 17A C.J.S. Contract §&nbsp;455, at 574 (1963) (when
contracting party elects one alternative permitted by contract, all rights between the parties attach
as from the making of the contract); 26 C.J.S. Deeds §&nbsp;94, at 853-54 (1956) (if no other equities
intervene, legal effect of deed may relate back to a date earlier than its delivery); 33 C.J.S.
Executors and Administrators §&nbsp;151, at 1113 (1942) (issuance of letters testamentary related back
to date of deceased's death and validated necessary or proper acts of the representative done in
the interim); 84 C.J.S. Taxation §&nbsp;623, at 1244 (1954) (bank's payment of taxpayer's check
relates back to the date the check was received by taxing authority).
4.      &nbsp;&nbsp;In Dae Won Choe v. Chancellor, Inc., 823 S.W.2d 740 (Tex. App.--Dallas 1992, no writ),
the court held that services rendered on an open account after the corporation failed to file its
franchise-tax report on the due date resulted in the directors' personal liability under "the plain
and ordinary meaning of the words in section 171.255," even though the corporate franchise had
not yet been forfeited.


	In Wilburn v. State, 824 S.W.2d 755 (Tex. App.--Austin 1992, no writ), this Court
held that an unemployment tax was a "debt" that was "created" when the wages were actually
paid, meaning of course that the amount thereof was a liquidated sum, and when payment was
required for work done before loss of corporate privileges the directors and officers were not
personally liable therefor under section 171.255.



